                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


ANDREW CORZO, SIA HENRY, ALEXANDER
LEO-GUERRA, MICHAEL MAERLENDER,
BRANDON PIYEVSKY, BENJAMIN SHUMATE,
BRITTANY TATIANA WEAVER, and CAM-
ERON WILLIAMS, individually and on behalf of
all others similarly situated,

                          Plaintiffs,

                     v.

BROWN UNIVERSITY, CALIFORNIA INSTI-    Case No.: 1:22-cv-00125
TUTE OF TECHNOLOGY, UNIVERSITY OF
CHICAGO, THE TRUSTEES OF COLUMBIA      Hon. Matthew F. Kennelly
UNIVERSITY IN THE CITY OF NEW YORK,
CORNELL UNIVERSITY, TRUSTEES OF DART-
MOUTH COLLEGE, DUKE UNIVERSITY,
EMORY UNIVERSITY, GEORGETOWN UNI-
VERSITY, THE JOHNS HOPKINS UNIVERSITY,
MASSACHUSETTS INSTITUTE OF TECHNOL-
OGY, NORTHWESTERN UNIVERSITY, UNI-
VERSITY OF NOTRE DAME DU LAC, THE
TRUSTEES OF THE UNIVERSITY OF PENN-
SYLVANIA, WILLIAM MARSH RICE UNIVER-
SITY, VANDERBILT UNIVERSITY, and YALE
UNIVERSITY,

                          Defendants.


           PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
         THEIR MOTION TO COMPEL PRODUCTION IN RESPONSE TO
        PENDING REQUESTS FOR THE PRODUCTION OF DOCUMENTS
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       Plaintiffs respectfully submit this Memorandum of Law in Support of their Motion to Com-

pel Production in Response to Pending Requests for the Production of Documents (“RFPs”), with

the supporting Declarations of Robert D. Gilbert (“Gilbert Decl.”), Steven Magnusson (“Magnus-

son Decl.”), Richard Cipolla (“Cipolla Decl.”), Plaintiffs’ Local Rule 37.2 Statement (“LR 37.2

St.”), and the Proposed Order submitted herewith.

                                        INTRODUCTION

       Considering the impasse the parties have reached on these matters, the schedule for the

substantial fact discovery that must be conducted in this matter (including the six depositions the

Court recently authorized Plaintiffs to take at the outset of the nearly 200 deposition they will take

in total), and the Court’s prior statement that the Plaintiffs thus should not negotiate too long “over

the shape of the table” before bringing matters to the Court (12/21/23 Tr. at 14:3-4), Plaintiffs

move to compel the production of several categories of critical documents, on three main bases:

       First, all Defendants should be ordered to produce the responsive documents allowing

Plaintiffs to show that in their admissions processes, Defendants favor the children of wealthy

donors. Through their March 3, 2023, productions, only two Defendants have produced such doc-

uments, and to only a limited extent. This Court has repeatedly recognized that these donation-

and wealth favoritism-related documents are directly relevant to a core theory of Plaintiffs’ theory

of liability—namely, that in considering a family’s history or prospect of large donations, Defend-

ants have considered the financial circumstances of an applicant or the applicant’s family in mak-

ing admissions decisions. This would mean Defendants have not conducted “need-blind” admis-

sions under the statutory exemption at issue (the “Exemption”) and therefore cannot claim the

Exemption as a defense for their conduct. The Court has repeatedly made clear that Defendants

must produce documents allowing Plaintiffs to pursue this core theory.
       Second, all Defendants should be ordered to produce two other categories of responsive

documents they have all refused to produce. In one category are the documents concerning the

relevant details of the schools’ endowments relating to their ability to support awarding more fi-

nancial aid, which are relevant to both the schools’ operations as “revenue maximizing” commer-

cial enterprises (that would support application of the per se rule to their conduct) and any asserted

procompetitive justifications for the 568 Cartel (if a Rule of Reason approach were applied). The

second category consists of documents concerning the schools’ lobbying for extension of the now

expired Exemption, which they have claimed is necessary to ensure that applicants and their fam-

ilies should bear the primary cost of education. These documents are relevant to Plaintiffs’ claim

that this core premise of the 568 Cartel and its implementation by Defendants unlawfully and

artificially inflated the net price of attendance for putative class members during the Class Period.

       Third, several Defendants in their Responses and Objections (“R&Os) refused to state

whether they would produce certain documents, proposing additional meet-and-confers (“M&Cs”)

on scope or relevance (or both); and several Defendants have offered a variety of individual ob-

jections to certain RFPs. These responses and objections are all dubious on their face because—

consistent with the broad standard for discoverability under Fed. R. Civ. P. 26—most of the other

Defendants have agreed to produce responsive documents. In addition, the parties have now en-

gaged in many M&Cs, concerning relevance, search terms, and the temporal scope of production.

Given the posture of the case and the nature of Defendants’ R&Os, this Court should order these

Defendants to produce these documents. They are relevant and their production is proportional.

       Plaintiffs thus submit, as explained in more detail below, that the Court should grant their

Motion and enter the Proposed Order set forth in Appendix 1. (The proposed order is particularly

detailed given the nature of this Motion, and of Defendants’ R&Os.)




                                                  2
                                  FACTUAL BACKGROUND

       A. The Parties’ Lengthy Process of Meeting and Conferring.

       Plaintiffs served their First Set of RFPs on September 19, 2022. (Gilbert Decl. ¶ 2, Ex. 1.)

On October 19, 2022, Defendants served their R&Os, in which some or all Defendants stated their

refusal to produce certain categories of documents. Plaintiffs served their Second and Third Set of

RFPs on November 7, 2022, and January 26, 2023, respectively. (Gilbert Decl. ¶ 2, Exs. 2 & 3.)

Until the end of February 2023, the parties engaged in extensive email correspondence and M&Cs,

both 6 globally (involving all Defendants) and 3 for each Defendant, concerning the pending RFPs,

the temporal scope of production, and 4 global M&Cs on the search terms for responding to those

RFPs that lent themselves to identification via search terms. (Magnusson Decl. ¶¶ 2-4.) Now De-

fendants are asserting that what was agreed globally did not bind them individually.

       In an abundance of caution, on February 1, 2023, following up on their email from several

days before, Plaintiffs invited each Defendant to advise Plaintiffs if, due to any “exceptional indi-

vidualized circumstances” that the Defendant were to cite, any Defendant had a particular issue

with the subjects of global resolution. (Gilbert Decl. ¶ 4, Ex. 5.) In response, no Defendant asserted

any individualized circumstances that would support a Defendant’s refusal or failure to produce

responsive documents. Instead, Emory (addressing just one search string) and Dartmouth raised

individualized concerns regarding the breadth of documents that the otherwise agreed-upon search

terms would generate. Plaintiffs resolved these issues with these Defendants. (One other Defendant

initially raised an issue, but then withdrew it.) Other than these minor issues, the Defendants did

not articulate any Defendant-specific issues with respect to the global subject matter of Plaintiffs’

RFPs. (Magnusson Decl. ¶ 4; Cipolla Decl. ¶ 3.)

       The parties thus reached global agreement on (a) search terms, (b) the temporal scope of

the production, and (c) the narrowing or clarification of many RFPs. (Magnusson Decl. ¶¶ 2-4.)


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(In addition, on March 8, 2023 (Dkt. 330), the Court ordered the production of certain documents

created after the filing of the Complaint.) The Cipolla Decl. ¶ 2 addresses certain limited issues

from two Defendants regarding temporal scope.) Given all these M&Cs, given the few responses

to the February 1, 2023, email, given the negotiation of search terms for the First and Second Set

of RFPs, given the Court’s intervening decision to reduce the number of Plaintiffs’ total RFPs by

almost half (Dkt. 315), given this Court’s repeated rulings that Defendants were to produce dona-

tion records (discussed further below), Plaintiffs understood Defendants’ initial objections had

been mooted. In cutting the number of Plaintiffs’ RFPs, for example, the Court described itself as

taking a “sharpened meat ax approach” in limiting them to a total of 100 (2/8/23 Tr. at 53:12-

54:13), but which still required Defendants to produce documents responsive to Plaintiffs’ RFPs.

       In a further abundance of caution, addressing Defendants’ R&Os to Plaintiffs’ First and

Second Set of RFPs (Defendants had responded to the Third Set only the night before), Plaintiffs

confirmed their understanding that Defendants would accomplish the “substantial completion” of

production of documents responsive to Plaintiffs’ RFPs by the March 3, 2023, deadline, through

a detailed email to Defendants on February 28, 2023. It attached appendices itemizing and provid-

ing specific information regarding each RFP, summarizing Defendants’ responses and Plaintiffs’

reasoning supporting the relevance of the requested documents. (Gilbert Decl. ¶ 7; LR 37.2 St. Ex.

1.) Defendants responded dismissively and disingenuously with a one-paragraph email on March

2, 2023, asserting Defendants would rely on their initial R&Os to the First and Second Set of RFPs,

and proposing that Plaintiffs engage in further individual M&Cs as to the RFPs with each Defend-

ant. (Gilbert ¶ 8; LR 37.2 St. Ex. 2.) Defendants thus did not agree that the parties’ multiple M&Cs

and agreements, or the Court’s rulings, had mooted their refusals to produce certain categories of

documents in their R&Os to Plaintiffs’ First and Second Set of RFPs. In effect, Defendants asserted

months of M&Cs had been a waste of time.

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        B. Summary of the RFPs at Issue in Plaintiffs’ Motion.

        In the wake of the Court’s order that Plaintiffs limit themselves to a total of 100 RFPs,

Plaintiffs pared their 192 pending RFPs down to 93, comprising 86 from Plaintiffs’ First and

Second Set of RFPs and 7 from the Third Set of RFPs. (Gilbert Decl. ¶ 5, Ex. 6.) All the RFPs

addressed below fall within those remaining 93 RFPs.

        With respect to donation- and wealth favoritism-related documents, some or all of the

Defendants have refused to produce documents in response to RFP Nos. 20 (all), 22, 23 (all), 58,

61, 62, 63, 88, 98, 113, 116, 117, 124, 126, 127, 128 (all), 129 (all), 131 (all), 132, 139, and 150

in the First Set; Nos. 1, 3, and 4 in the Second Set; and Nos. 11 and 13 in the Third Set. (See Ar-

gument Part I, below.)

        With respect to two categories of documents other than donation- and wealth favoritism-

related documents, all Defendants have refused to produce documents in response to RFP Nos.

53 and 83. (See Argument Part II, below.)

        With respect to several categories of documents other than donation- and wealth favorit-

ism-related documents, several Defendants indicated in their R&Os they would not state whether

they would produce documents until after M&Cs, which have now occurred: Nos. 2, 3, 4, 7, 12,

14, 16, 31, 48, 70, and 77 in the First Set, and No. 2 in the Second Set.1 In addition, one or more

of the Defendants have refused to produce documents in response to RFP Nos. 38, 49, 51, 54,

103, 114, 115, 142, 150, 151, 157, 160, and 163. (See Argument Part III, below.)




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 In addition, there are other RFPs, addressed in this motion, where one or more other Defendants initially
refused to produce responsive documents or initially would not state whether it would produce responsive
documents prior to M&Cs. Those RFPs are Nos. 49, 51, 63 (two Defendants), and 151 in the First Set, and
Nos. 2 and 4 in the Second Set. Plaintiffs submit, for the reasons stated elsewhere herein, that the Court
should also direct these Defendants to produce the responsive documents.


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                                    LEGAL STANDARDS

       The “relevance standard” under Federal Rule of Civil Procedure 26(b)(1) “is extremely

broad.” Torgersen v. Siemens Bldg. Tech., Inc., 2021 WL 2072151, at *3 (N.D. Ill. May 24, 2021);

see also Outley v. City of Chicago, 2021 WL 4789026, at *5 (N.D. Ill. Jan. 5, 2021) (referring to

“the broad relevance standard of Rule 26”). Whether a defendant has concluded that the responsive

documents “would not have supported” the plaintiffs’ claims is irrelevant; the question is whether

the documents are “relevant to the claims and defenses” in the case. Ill. Tamale Co. v. El-Greg,

Inc., 2019 WL 4395139, at *22 (N.D. Ill. Sept. 13, 2019) (Kennelly, J.).

       “If the discovery appears relevant and proportional to the case, the burden rests on the

objecting party to show why a particular discovery request is improper.” Outley, 2021 WL

4789026, at *3. The resolution of discovery disputes is committed to the district court’s broad

discretion. Thermal Design, Inc. v. Am. Soc’y of Heating, Refrigerating & Air Conditioning

Eng’rs, Inc., 755 F.3d 832, 837 (7th Cir. 2014). In sum: “District courts enjoy broad discretion

when considering motions to compel and have consistently adopted a liberal interpretation of the

discovery rule.” FireBlok IP Holdings, LLC v. Hilti, Inc., 2022 WL 18937942, at *1 (N.D. Ill. May

10, 2022) (quotations and citation omitted).

       In addition, the “courts generally take an expansive view of discovery in antitrust case.”

Kleen Prods. LLC v. Packaging Corp. of Am., 2013 WL 120240, at *9 (N.D. Ill. Jan. 9, 2013). In

cases where allegations of conspiracy or monopolization are involved, broad discovery is permit-

ted to uncover evidence of invidious design, pattern, or intent, particularly because such evidence

typically is found only in the hands of the alleged conspirators, who often seek to cover up and

conceal their wrongdoing. Where there is doubt over relevance, courts should allow the discovery.

Heat and Control, Inc. v. Hester Indus., Inc., 785 F.2d 1017, 1024 (Fed. Cir. 1986) (citing Deitch-

man v. E.R. Squibb & Sons, Inc., 740 F.2d 556, 556 (7th Cir. 1984)); see also Wiginton v. CB


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Richard Ellis, Inc., 229 F.R.D. 586, 577 (N.D. Ill. 2009) (“[I]f relevance is in doubt, courts should

err on the side of permissive discovery.”). With respect to proportionality, “[t]he party opposing

discovery has the burden of showing that the discovery is overly broad, unduly burdensome, or

not relevant.” Cnty. of Cook v. Bank of Am. Corp., 2019 WL 5393997, at *6 (N.D. Ill. Oct. 22,

2019) (quoting Young v. City of Chicago, 2017 WL 25170, at *8 (N.D. Ill. Jan. 3, 2017)). “A

specific showing of burden is commonly required by district judges faced with objections to the

scope of discovery.” Heraeus Kulzer, GmbH v. Biomet, Inc., 633 F.3d 591, 598 (7th Cir. 2011);

accord Human Rights Defense Ctr. v. Jeffreys, 2022 WL 4386666, at *3 (N.D. Ill. Sept. 22, 2022).

“Typically, a party must support such objections through affirmative proof such as affidavits or

testimony.” Poshard v. Madison Cnty., Ill., 2020 WL 13016131, at *4 (S.D. Ill. Nov. 3, 2022).

                                            ARGUMENT

I.      ALL DEFENDANTS SHOULD PRODUCE THEIR RESPONSIVE DONATION-
        AND WEALTH FAVORITISM-RELATED DOCUMENTS THAT THEY HAVE
        EVIDENTLY REFUSED TO PRODUCE

        Defendants should be ordered to produce all documents responsive to Plaintiffs’ RFPs

relating to donations and wealth favoritism, which some or all of the Defendants in their R&Os

initially refused to produce. The RFPs at issue are Nos. 20 (all), 22, 23 (all), 58, 61, 62, 63, 88, 98,

113, 116, 117, 124, 126, 127, 128 (all), 129 (all), 131 (all), 132, 139, and 150 in the First Set; Nos.

1, 3, and 4 in the Second Set; and Nos. 11 and 13 in the Third Set. The date for the “substantial

completion” of document production was March 3, 2023. (Dkt. 195.) Plaintiffs have located in

Defendants’ productions few responsive documents, including a single applicant-related donor

document from Columbia and a handful from Northwestern. (Magnusson Decl. ¶ 5.)

       A. The Responsive Documents Are Plainly Relevant.

       The donation- and wealth favoritism documents are plainly relevant, certainly discoverable

under Rule 26, and repeatedly ordered to be produced, for at least the following reasons:


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       First, these documents relate to one of Plaintiffs’ core theories of liability that has already

survived motions to dismiss. Under the Exemption, 15 U.S.C. § 1 note; Pub. L. No. 103-382, title

V, § 568, 108 Stat. 3518, 4060 (1994), all Defendants must be “need-blind” in all of their admis-

sions. See Carbone v. Brown Univ., 2022 WL 3357249, at *5-6 (N.D. Ill. Aug. 15, 2022). This is

true even for Defendants that have dropped the Exemption as a defense, since all Defendants par-

ticipated in the conspiracy, and all must have always been need-blind for the Exemption to apply

to any Defendant. See id. at *6. This Court reiterated this point during a hearing on February 8,

2023: “It’s hornbook law of conspiracy . . . . Everybody within the alleged group has to have been

complying with 568 in order for anybody to take advantage of it.” (2/8/23 Tr. at 41:17-25.) Dona-

tion records and other evidence of wealth favoritism are thus critical to establishing liability on the

part of each member of the conspiracy.

       Second, the Court has already recognized that donation- and wealth favoritism-related doc-

uments are central to Plaintiffs’ theory of liability, and that the Defendants must produce, in deny-

ing Defendants’ motion to dismiss. See, e.g., Carbone, 2022 WL 3357249, at *5 (concluding that

Plaintiffs’ allegations of wealth favoritism with respect to past or potential future donors “support

the plaintiffs’ contention that the defendants are not need-blind”). The Court reiterated this finding

of relevance during a hearing on October 26, 2022. The Court emphasized the importance of this

specific discovery, and its ruling that Defendants must make such evidence available to Plaintiffs:

               So first of all‐‐and I don’t think this is the case, but I just want to
               have it out there just so I’ve said it and I’ll be done with it‐‐I mean,
               this is not going to be a situation where the case comes to a halt and
               gets adjudicated because the discovery can’t get produced. So I just
               want to make that clear.
               ....

               So the whole case‐‐maybe not the whole case, but a significant part
               of the case is exactly this, the contention that admissions are tied to
               donations, or at least that’s a significant part of the case. And so un-
               less there’s going to be an opinion that basically says, well, the kind

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               of thing I just said is not going to happen, that basically says the
               plaintiffs can’t get that, therefore, the case is over, then we have to
               come up with a way of doing that.

(10/26/22 Tr. at 23:12-17; 36:23-37:6 (emphasis added).) And the Court made clear that when it

speaks: “That’s the judge talking. Those are called rulings.” (Id. at 34:16.)

       Third, any assertion by Defendants that applicant-related donor records should not be pro-

duced cannot be reconciled with the entry of the Confidentiality Order in this case in November

2022 (Dkt. 254), which defined and addressed the proper treatment of “donation records”, and

which set forth a detailed statement in the Order regarding the form in which Defendants were

required to produce same. See id. ¶¶ 8(c), 8(d)(i). Defendants argued that these donor-related ap-

plicant records should be shielded from production, but this Court explicitly rejected their argu-

ment on October 26, 2022, and ruled these documents must be produced, which the Court charac-

terized as “close to a no brainer as anything we can get to in here.” (10/26/22 Tr. at 34:14-15.)

       Fourth, these documents are central to other issues, including Defendants’ defense of the

statute of limitations, and whether and to whether the per se rule applies to the horizontal price

fixing in this case. Where the Defendants went to lengths to conceal, cover up, or misrepresent the

existence of wealth favoritism, a reasonably diligent person could not have known that Defendants

were failing to conduct “need-blind” admissions. Similarly, evidence that Defendants were engag-

ing in consistent and significant acts of wealth favoritism in admissions tends to show both that

the alleged conspiracy and operations of Defendants are revenue-maximizing and non-altruistic in

nature. See, e.g., United States v. Brown Univ., 5 F.3d 658, 672-73 (3d Cir. 1993). These matters

are relevant to the question—on which the Court “defers” for “later in the litigation,” Carbone,

2022 WL 3357249, at *7—of whether the “per se” or “Rule of Reason” mode of analysis should

apply in this case. Plaintiffs are entitled to collect the evidence necessary to address that issue for

the Court’s later resolution.


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       B. The Production of the Responsive Documents Is Proportional, Including
          Because Defendants Do Not Face Any Undue Burden in Producing Them.

       The discovery at issue is proportional to the needs of this case, under the factors set forth

in Rule 26(b)(1), because (a) the issues at stake in this action are critically important, including

because they concern the policies and practices of seventeen (17) of the best private universities

in the country and the impact their conduct has had on over 200,000 of their students; (b) the

amount in controversy in this matter is extremely high (Plaintiffs’ counsel expect the forthcoming

damages calculations, even before being trebled, to be nearly two billion dollars); (c) only Defend-

ants have access to the internal, confidential information these RFPs seek, as the parties’ negotia-

tion of the Confidentiality Order in this case reflects; (d) Defendants have extremely substantial

resources and $233 billion endowments under management, as their retention of the best defense

law firms in the country reflects; (e) the evidence at issue is material, as the Court has repeatedly

recognized; and (f) the burden of the proposed discovery does not outweigh its benefit.

       Indeed, as to the last factors, Defendants have not made any showing in connection with

any M&C that producing the donation- and wealth favoritism-related documents would impose

any undue burden. The presence of these factors underscores why, when six Defendants sought a

protective order barring discovery as to the connection between donations and admissions, and

wealth favoritism in general, the Court ruled those Defendants—which had dropped the Exemp-

tion defense—had still not shown that such discovery was disproportionate. This Court ordered

production to proceed. (2/8/23 Tr. at 42:13-14.)

       In addition, Defendants’ collective refusal to respond to two of the central RFPs at issue

belie any assertion of undue burden Defendants might now try to make. In RFP No. 22 in the First

Set and RFP No. 11 in the Third Set, Plaintiffs identified on a Defendant-by-Defendant basis lists

of 623 and 135 specific donors, respectively, identifying the class or classes of the student to which

the donors relate. (Gilbert Decl. Exs. 1 & 3.) Plaintiffs thus sought the documents relating to those
                                                 10
donations and students. Only Caltech initially agreed to produce the responsive documents. These

RFPs, to speak colloquially, thus handed the Defendants the relevant information on a silver plat-

ter. The parties even negotiated and agreed upon search terms specifically to cover RFP No. 22.

(Magnuson Decl. ¶ 6.)2 Yet Defendants still refuse to produce these targeted documents. Plaintiffs

are unaware that Defendants have produced any such documents.3 (Id. ¶ 6; Gilbert Decl. ¶ 6.)

        The notion it would be burdensome for Defendants to identify other students whose appli-

cations have related to former or prospective donors, is devoid of merit. The “donations” under

these RFPs must exceed $50,000 (LR 37.2 Stat. Ex. 1, Appendices A & B), which massively nar-

rows the number of students the RFPs could implicate. Defendants can certainly determine which

students relate to actual or prospective donations of that size. Just as fundamental, providing doc-

uments that relate to these donors specifically identified 6 months ago, for which Defendants al-

ready agreed to search, is the essence of what the Court directed regarding donor-admittee and

donor-related admissions records. Plaintiffs have explored every option to seek these documents

from Defendants, but Defendants continue to refuse. The fact is that Defendants’ evident failure

to produce such records in light of the Court’s rulings is a violation of their discovery obligations.4


2
  The following is the agreed-upon search term string: “[Search terms to be derived based on university
relevant names in appendix 1] w/10 (donat* OR gift OR pledg* OR promis* OR commit* OR beque* OR
assign* OR contrib* OR give OR grant* OR confer* OR bestow* OR writ* OR endow* OR gift* OR
donat* OR wealth* OR loaded OR money* OR "well*off" OR "well*to*do" OR well*heeled OR
deep*pocket* OR prosper* OR mint* OR flush OR cash OR fat*cat OR "warbucks" OR "sugar daddy" OR
affluen* OR heir* OR magnate OR tycoon OR baron* OR inherit* OR pennybags OR mcduck OR "rolling
/3 dough" OR estate OR bankroll* OR bank*roll OR check OR wire OR donor* OR billion* OR fatcat*)”.
3
  On March 21, 2023, counsel for Brown, after having previously declined to do so, agreed to produce
documents responsive too RFP No. 22 and to do so within one week. Northwestern had only one name on
these lists (in the list for the Third Set) and Plaintiffs have seen two documents produced that relate to that
name, but on one document there is no date or metadata that would indicate whether that individual recom-
mended a child or someone else, and on the other there is no indication whether the student who was rec-
ommended was ultimately admitted. Otherwise, through the March 3 date required for substantial comple-
tion of production, Plaintiffs have seen no other Northwestern documents relating to names on these lists.
(Magnusson Decl. ¶ 6.)
4
 Plaintiffs thus reserve the right to seek their substantial attorneys’ fees and costs in pursuing this discov-
ery, including through this Motion.
                                                      11
        The Court’s resolution of the issues at this time is essential, given not only the schedule for

fact discovery in this matter, but also that the Court recently granted Plaintiffs leave to take the

deposition of six (6) officers from several Defendants (Brown, Columbia, Dartmouth, Northwest-

ern, Notre Dame, and Yale) that had declined to designate their Presidents or Development Offices

as document custodians. (2/8/23 Tr. at 49:12-18 & Dkt. 330 ¶ 5.) The parties have already begun

to schedule these depositions. (Gilbert Decl. ¶ 9.) Those depositions are largely designed to obtain

testimony bearing on the relationship between donations and admissions. (2/8/23 Tr. 43:10-53:11.)

In so ruling, the Court made clear that these schools’ production of donation- and wealth favorit-

ism-related documents must precede those depositions, because if the deponent could not recall or

testify accurately because these responsive documents had not been produced or reviewed, “then

I’m going to let them go back and get the documents and then make the person appear again to

answer the questions they didn’t remember the first time.” (2/8/23 Tr. at 49:15-18.)

        In addition, Plaintiffs submit that Defendants’ position as to the supposedly continuing

relevance of their initial R&Os is nonsensical. In particular, the global agreements the parties

reached after months of M&Cs with respect to the Defendants’ many overlapping and common

objections would be rendered meaningless if, as Defendants have now proposed, Plaintiffs had to

return to each of the Defendants for further individualized M&Cs—with the prospect of thereafter

burdening the Court with seventeen (17) separate motions to compel.5




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  Given this number of Defendants, this litigation is akin to a Multi-District Litigation (“MDL”) that has
been consolidated, in part, for purposes of the efficient conduct of discovery. See 28 U.S.C. § 1407. That
is, it would not have made sense for Plaintiffs to bring seventeen (17) actions in each of the Defendant’s
home districts and then try to work out all discovery-related issues separately and independently from each
other. Instead, those courts would have consolidated the actions, including for the global resolution of dis-
covery matters. It is precisely this type global, common resolution of issues that this Court encouraged and
that Plaintiffs sought in the global M&Cs—and are now seeking to enforce in this Motion.
                                                     12
II.    ALL DEFENDANTS SHOULD PRODUCE THE OTHER CATEGORIES OF
       RESPONSIVE DOCUMENTS THEY HAVE ALL REFUSED TO PRODUCE

       All Defendants should produce the documents responsive to RFP Nos. 53 and 83, which

they had all initially refused to produce.

       A. RFP No. 53: Documents Concerning Details of the Defendants’ Endowments Are
          Relevant, and the Production of the Documents Is Proportional.

       The documents concerning the relevant details of the schools’ endowments—including

their amounts, their annual returns, the extent to which they are used to support awards of financial

aid, and the extent to which they could be used to support awarding more financial aid—are rele-

vant both to the universities’ revenue-maximizing operations, which pursuant to Brown calls for

application of the per se rule under the antitrust laws. Even under the Rule of Reason analysis

Defendants propose, Plaintiffs seek this discovery to show that all Defendants could have used

their endowments to support more financial aid and thereby achieve whatever procompetitive jus-

tifications they claim have resulted from the 568 Group, without engaging in the alleged collusion.

       The production of these documents is proportional for the reasons set forth in Part I.A,

above, and because it would not be unduly burdensome for Defendants to identify and produce the

responsive documents reflecting the relevant details concerning the schools’ endowments. These

endowments are too large, and their actual and prospective uses too important, for Defendants to

fail to maintain readily available documents that would reflect the information Plaintiffs seek.

       B. RFP No. 83: Documents Concerning Defendants’ Lobbying for Applicants and
          Their Families to Bear the Primary Cost of Education Are Relevant and the
          Production of the Documents Is Proportional.

       The documents concerning the schools’ lobbying for the extension of the Exemption are

relevant to Plaintiffs’ analysis of a core principle of the 568 Cartel—namely, that applicants and

their families should pay the maximum amount that they can afford to pay --- for it is that principle

the Exemption is designed to protect under Plaintiffs’ theory of the case. Defendants have agreed


                                                 13
to follow that principle and its implementation, which is one of the reasons that the net price of

attendance at these schools has been unlawfully and artificially inflated during the Class Period.

In addition, it is likely Defendants informed their lobbyists that absent an extension of the Exemp-

tion, they would be liable under the antitrust laws. The production of these documents is propor-

tional for the reasons set forth in Part I.A, above, and because it would not be unduly burdensome

for Defendants to identify and produce the responsive documents.

III.   THE DEFENDANTS THAT HAVE OBJECTED TO PRODUCING DOCUMENTS
       THAT THE OTHER DEFENDANTS HAVE AGREED TO PRODUCE SHOULD
       PRODUCE THE RESPONSIVE DOCUMENTS

       A. As to the Defendants That Proposed to Meet and Confer, the Parties Have Done
          So, the RFPs at Issue Seek Relevant and Proportional Discovery, and Production
          Is Appropriate Now.

       Several Defendants have indicated they would not determine whether they would produce

documents until after M&Cs, but where all other Defendants agreed to produce responsive docu-

ments, the balking Defendants should be ordered to do so as well. The RFPs at issue are Nos. 2

(Penn), 3 (Penn), 4 (Penn), 7 (Penn), 12 (Penn), 14 (Penn), 16 (Chicago and Penn), 31 (Notre

Dame and Penn), 48 (Notre Dame), 70 (Penn), and 77 (Duke and Yale) in the First Set, and No. 2

(Chicago) in the Second Set. That is, these non-responses are dubious on their face because—

consistent with the broad standard for discoverability under Rule 26(b)(1)—most of the other De-

fendants have agreed to produce responsive documents. These responsive documents are thus rel-

evant (see also Gilbert Decl. ¶ 10 (explaining their relevance from Plaintiffs’ perspective)), and

their production is proportional for the reasons shown in Part I.A, above. The production of these

documents now is necessary given the schedule for fact discovery in this matter.




                                                14
       B. As to the Defendants That Have Refused to Produce, as the Other Defendants’
          Agreement to Produce Indicates, the RFPs at Issue Seek Relevant and
          Proportional Discovery.

       The several Defendants that stated individual refusals to produce the documents responsive

to the RFPs discussed below, notwithstanding other Defendants’ agreement to produce responsive

documents, should be ordered to produce the responsive documents. The RFPs at issue are Nos.

38, 49, 51, 54, 103, 114, 115, 142, 150, 151, 157, 160, and 163. These non-responses, like those

addressed in Part III.A, above, are also dubious on their face because most of the other Defendants

have agreed to produce responsive documents. In order not to burden this Court, the relevance of

these RFPs from Plaintiff’s perspective is explained in summary fashion in Gilbert Decl. ¶ 11. The

requested production is proportional for the reasons shown in Part I.A, above.

                                         CONCLUSION

       Plaintiffs respectfully submit, for the foregoing reasons, that the Court should grant Plain-

tiffs’ Motion to Compel as set forth in Plaintiffs’ Proposed Order.


 Dated: March 21, 2023                                     Respectfully Submitted,


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